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           EXHIBIT 99
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           ORDER ON
           PLAINTIFFS'
             MOTION
         FOR SANCTIONS
         FOR DISCOVERY
          MISCONDUCT

      Redacted Version of
      Document Sought to
          be Sealed
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                   5                                   UNITED STATES DISTRICT COURT

                   6                                  NORTHERN DISTRICT OF CALIFORNIA
                   7
                   8     CHASOM BROWN, et al.,                               Case No. 20-cv-03664-YGR (SVK)
                   9                    Plaintiffs,                          }~ILED UNDER SEAL
                  10              V.
                                                                             ORDER ON PLAINTIFFS' :MOTION
                  11     GOOGLELLC,                                          FOR SANCTIONS FOR DISCOVERY
                                                                             MISCONDUCT
            ~     12                    Defendant.
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                                                                             Re: 0kt. No. 430
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 ...        II!
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                  14          On February 26, 2022, Plaintiffs filed a request for an order for Google to show cause why
....r;:;    0
Clu               15   it should not be sanctioned for discovery misconduct. 0kt. 430. At a February 28, 2022 hearing
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            "'
                  16   on other discovery issues, the Court indicated it would set a schedule for the motion, and on
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 'I)        (I)
                  17   1.farch 1, 2022, the Court issued a briefing and hearing schedule. 0kt. 443. On March 21.
·~E '€0
    z             18   Pla.intiffs moved for leave to file to file a supplement to the sanctions motion, which the Comt

                  19   granted. Dkt. 511, 512. In this Order, the Court refers to the sanctions motion, as supplemented

                  20   on March 21 , 2022, as the "Motion." Google subsequently filed an opposition to the Motion (Dkt.

                  21   528 ("Opp.")), and Plaintiff.'3 filed a reply (Dkt. 536 ("Reply")). At the Court's direction, the

                  22   Parties also filed competing proposed Findings of Fact and Conclusions of Law . Dkts. 549
                       ("Google Prop. Findings"), 552 ("Pls. Prop. Findings"). 'Ihe Cow1 held an in-person evidentiary
                  23
                       hearing on April 21, 2022.
                  24
                              Following the hearing, Plaintiffs submitted a second request to supplement the Motion,
                  25
                       which Google opposes. Dkt. 583, 585. This request is addressed in Section I below.
                  26
                              Having considered all of the papers and evidence before the Court, the Court GRANTS IN
                  27
                       PART AND DENIES IN PART Plaintiffs' Motion for the reasons that follow.
                  28
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                   1   I.     Plabttitl''s Second Request to Supplement Motion
                   2          On May 16, 2022, several weeks follO\,ving the hearing on the Motion, Plaintiffs submitted

                   3   a request to further supplement the Motion. Dkt. 583. Plaintiff.-,' latest request to supplement

                   4   seeks to preclude Google from relying on two items: (1) Google 's l\.fay 12, 2022 supplemental

                   5   response to Interrogatory 35, which discusses the Incognito~detection bits; and (2) the April 25,

                   6   2022 Declaration of Richard Harting submitted by Googl.e .in connection with its objections to the

                   7   Special 1vfaster's April 4, 2022 Report and Recommendation regarding a preservation plan. Id.

                   8   Google opposes Plaintiffs' second request to supplement the Motion. 0kt. 585.

                   9          Having reviewed and considered Plaintiffs' second request to supplement the Motion, the

                  10   Court GRANTS Plaintiffs' request to supplernent the Motion as to Google's supplemental
                       response to Interrogatory No. 35 and addresses that issue in its Findings of Fact and Conclusions
                  11
                       of Law on the Motion. 'The Court DENIES Plaintiffs' request to supplement the Motion
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                       conceming Mr. Harting's declaration. That declaration was filed in connection with Google's
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            II!        objections to the Special Master's Repo1t regarding a preservation plan and is more suitably
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                  14
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                       considered in connection with that matter instead of the present Motion .
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                       II.    Evidcntiary Issues
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                              A.      Google's E,identiary Objections
                  17
·~E '€0                       Google objects to two declarations of Mark C. Mao in suppo11 of Plaintiffs' motion.
    z             18
                       Specifically, Google objects to paragraphs 3- 12, 15- 23, 25, and 27- 31 of the Declaration of Mark
                  19
                       C. Mao in Suppo11. of Plaintiffs' Request for an Order to Show Cause (Dkt. 429-3) and P,u·agraphs
                  20
                       4-8, 10- 11, 14-16, 19, 22- 24, and 26-30 of the Second Declaration of Mark C. Mao in Support
                  21
                       of Plaintiffs' Order to Show Cause Motion (Dkt. 494-3). Opp. at 4 n.2. Google argues that these
                  22
                       declarations contain conclusions and argument in violation of Local Rule 7-5(b). Google's
                  23
                       Proposed Findings ,r 10 (citing as examples Dkt. 429~3 ,r 10 ('"Google went to great lengths to
                  24
                       conceal this infonnation throughout the discovery process."); id.     ,r 19 ("Tellingly, for certain other
                  25
                       logs that apparently do not include a 'maybe .,chrome ___incognito' field, Google was happy to
                  26
                       produce more than the 100 largest fields. "); id   ~ 31   (''Plaintiffs have asked Google to remedy the
                  27
                  28                                                       2
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                       prejudice it has caused in multiple, reasonable ways .... Google has simply refused."); Oki. 494-
                   2
                       3 124 ("Google also produced schema for ■ logs containing the 'maybe~chrome _incognito' field
                   3
                       .. . farther demonstrating that Google has alternatives to produce schema with fields containing
                   4
                       'incognito."')).
                   5
                              Civil Local Rule 7-5(b) provides:
                   6
                              An affidavit or declaration may contain only facts, must confonn as much as possible to
                   7          the requirements of Fed. R. Civ. P. 56(e), and must avoid conclusions and argument. Any
                   8
                              statement made upon information or belief must specify the basis therefor. An affidavit or
                              declaration not in compliance with this rule may be stricken in whole or in part.
                   9          The Court finds that portions of the challenged Mao Declarations contain conclusions and
                  10   argmnents in violation of Civil Local Rule 7-S(b). The Court therefore SUSTAINS Google's
                  11   objections as to arguments and summaries contained in the objected-to paragraphs and strikes that
            ~     12   language. Specifically, the Couli STRIKES 1he following language from the original Mao
 t: ·-
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o,o               13   Declaration (Dkt. 429-3):
V ~
 ...        II!
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 ... u     ~
                  14              •   ,i 3: "for the first time"
....r;:;    0
Clu               15              •   14: entire paragraph
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            "'
                  16              •   ,i 5: "Contrary to Google's assertions of burden wi1h respect to producing Mr.
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            (I)
                  17                      Leung's documents,"
·~E '€0
    z             18              •   tjj 6-10: entire paragraphs

                  19              • 1 11:      "'for the first time" and the sentence beginning "None of those documents ... "

                  20              • i-f 12: first two sentences and the phrase "the most up-to-date version" in the last
                  21                      sentence

                  22              •   ,i 15: entire paragraph

                  23              • ~I 17: "(i.e., the only. logs Google disclosed that actually, and unbeknownst to
                  24                      Plaintiffs, contained the 'maybe_chrome_incognito" field)"

                  25              • 1 18:      entire paragraph except the phrase "Google only produced filed names for

                  26                  the '100 largest fields' in t h e · - Jogs"

                  27              • 1 19:      "Tellingly," "was happy to"

                  28                                                       3
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                   1
                                   •   ,i 20: entire paragraph
                   2
                                   • ,r 21: "very"
                   3
                                   • ,r 22: the phrase "and simply had no reason to believe" and the sentence beginning
                   4
                                       "To the contrary .. . "
                   5
                                   • ,r 23:    entire paragraph except for the statement "Google produced lvlr. Leung's
                   6
                                       custodial dociunents on Friday, Febmary 18, 2022"
                   7
                                   •   ~127: last sentence
                   8
                                   •   ,i 28: last two sentences
                   9
                                   • ,r 30:    "Google's evasion wa~ improper"
                  10          Google's objections to the Second Mao Declaration are directed at Dkt. 494-3. Opp. at 4
                  11   n.2. However, that document wa'3 previously stricken without prejudice. Dkt. 508. The Second
            ~     12   Mao Declaration was re-filed as Dkt. 510-3. In light of Google's objections, the Cout1 also
 t: ·-
  = E
  o,o             13
V ~                    STRIKES the following language from the Second Mao Declaration (Dkt. 510-3):
 ...        II!
-~
 ... u     ~
                  14               • ,r 6:    entire paragraph except first and last sentence
....r;:;    0
Clu               15               • ,r 7:    first sentence
  ·5
  1/)

 ~
 <l)       ....
            "'

r✓-i 0            16               • ,r,r 14-15:    entire paragraphs
-o          E
 'I)

·~E '€0
            (I)
                  17               • ,r 22:    entire paragraph except first sentence
    z             18               • ~I23: "for the first time" (in both sentences)
                  19               • ,r 24:    "fut1her demonstrating that Google has alternatives to produce schema with
                  20                   fie lds containing 'incognito'''

                  21               • ,r,r 26-27: entire paragraphs
                  22          Except as specified above, the Court OVERRULES Google's objections to the Mao

                  23   declarations, and OVERRULES Google ·s objections to the extent Google obj ects to the evidence

                  24   attached to and authenticated by the Mao decla.rat.ions.

                  25          B.       Hea1ing Exhibits

                  26          At the April 21, 2022 hearing on the Motion, the Court ordered the Parties to meet and

                  27   confer regarding Google's request to admit ce1tain deposition and hearing transcripts as exhibits

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